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                              IN THE UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF TEXAS
                                      SAN ANTONIO DIVISION

     LA UNION DEL PUEBLO ENTERO, et al.,

                        Plaintiffs,
                                                                                Case No. 5:21-CV-844-XR
     vs.                                                                          (Consolidated Cases)

     STATE OF TEXAS, et al.,

                       Defendants.


    HAUL PLAINTIFFS’ RESPONSE TO STATE DEFENDANTS’ MOTION IN LIMINE
    TO EXCLUDE THE ADDENDUM PROVIDED BY PROFESSOR DANIEL A. SMITH
                         TO HIS EXPERT REPORTS

           HAUL Plaintiffs respectfully submit this Response in opposition to State Defendants’

motion in limine (ECF No. 746) to exclude the Addendum dated August 16, 2023 to Plaintiffs’

expert Professor Daniel A. Smith’s Third Supplemental Expert Report dated June 7, 2023. The

substance of the Addendum (Exhibit A) is less than two pages long. It presents a table and text

demonstrating that registered voters in Texas with Hispanic surnames whose timely absentee ballot

applications were rejected were less likely thereafter to cast a valid ballot by any means in the

November 2022 general election than registered voters with non-Hispanic surnames, and that this

was true for voters with Hispanic surnames whose applications were rejected for any reason, and

for voters with Hispanic surnames whose applications were rejected because of SB1.

           The Addendum was served 26 days before the scheduled start of trial, leaving ample time

for State Defendants and their experts, if the State Defendants chose to involve them,1 to review

and consider the three paragraphs and one table that it presents. It does not set forth new material:

the analysis in the Addendum is based on the same data Professor Smith used in his Third


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    To date, no Defendant has proffered an expert to rebut any aspect of Professor Smith’s reports.


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Supplemental Expert Report, (Exhibit B), about which he was deposed in detail on July 6, 2023,

and presents, for the 2022 general election, the same analysis that he provided for the 2022 primary

election in his Supplemental Report to Second Expert Report, dated March 20, 2023, (Exhibit C),

about which he was extensively deposed on April 17, 2023. The data in question is voter-level data

maintained and produced by Defendant Secretary of State, so State Defendants cannot claim it is

new to them.

       In his Third Supplemental Expert Report, Professor Smith examined the 2022 general

election and showed, inter alia, that in the 10 Texas counties with the largest numbers of “active”

registered voters according to the February 2023 statewide voter file, the absentee ballot rejection

rate was higher for voters with Hispanic surnames than for voters with non-Hispanic surnames.

See Exhibit B at 38, ¶ 73 & Table 7. He further showed that approximately half of all voters whose

applications for absentee ballots were rejected did not ultimately cast a valid ballot by any means

in the 2022 general election. See id. at 45-46, ¶¶ 84-85 & Table 8. Due to an oversight, however,

Professor Smith did not extend Table 8 to disaggregate voters whose applications for absentee

ballots were rejected into those with Hispanic surnames and those with non-Hispanic surnames.

This is the analysis presented in the Addendum.

       Although the Addendum is brief, the disaggregated analysis it presents for the November

2022 general election is important to Plaintiffs’ claims, which allege that SB1’s ID requirements

for mail ballot applications, and for mail ballots themselves, impose an undue burden on voters

and have disproportionate impacts on Black and Latino voters. See Plaintiffs’ Second Amended

Complaint (ECF No. 199), ¶¶41, 64, 195, 203, 208, 217, 221, 223, 225, 312, 344 & 349.

       Professor Smith provided exactly this disaggregated analysis for the March 2022 primary

election for voters with Hispanic surnames and voters with non-Hispanic surnames, and showed




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that, in that election, more than 60% of voters with Hispanic surnames whose applications for

absentee ballots were rejected did not vote by any other means. See Exhibit C at 38-39, ¶¶ 71-74

and Table 6. With the Addendum, Professor Smith’s analysis of the general election now mirrors

his analysis of the primary.

       Thus, the State Defendants were on notice of the subject matter of Professor Smith’s

Addendum: they had seen the identical analysis by Professor Smith for the 2022 primary elections.

Indeed, counsel for the State Defendants questioned Professor Smith at his July 6, 2023 deposition

about the analysis of Hispanic-surnamed voters in his report on the 2022 primary election that was

missing from his report on the 2022 general election. The Addendum provides the missing analysis

that counsel for State Defendants asked about.

       Finally, State Defendants had the opportunity to take discovery concerning the Addendum.

The parties met and conferred on August 22, 2023 about this issue and HAUL Plaintiffs offered a

further deposition of Professor Smith before the beginning of trial. Depositions of Professor Smith

have been the sole discovery State Defendants have pursued concerning the contents of his reports;

State Defendants could have deposed him about the Addendum and avoided burdening the Court

with this motion. Such a deposition would not take more than one hour, as counsel for the State

Defendants required less than two hours to depose Professor Smith about the entirety of his Third

Supplemental Expert Report. State Defendants declined the offer of an additional deposition.

Thus, their argument that they must “prepare for and challenge Dr. Smith’s analysis without the

benefit of discovery,” State Defs.’ Mot. in limine at 2, rings hollow. This case is entirely different

from the one authority cited by State Defendants, CQ, Inc. v. TXU Mining Co., L.P., 565 F.3d 268

(5th Cir. 2009), in which the new calculations of the plaintiff’s damages, proffered in response to

a motion in limine, could have necessitated a new briefing schedule and perhaps the re-opening of




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discovery. Id. at 280 (citing Hoffman v. Constr. Protective Servs., Inc., 541 F.3d 1175, 1179-80

(9th Cir. 2008).

                                       CONCLUSION

       For the foregoing reasons, HAUL Plaintiffs urge this Court to deny State Defendants’

motion in limine.

DATED: September 8, 2023                    Respectfully submitted,

                                            /s/ Jennifer Holmes
                                            Jennifer A. Holmes*
                                            NAACP Legal Defense and Educational Fund, Inc.
                                            700 14th Street NW, Suite 600
                                            Washington, DC 20005
                                                    Telephone: (202) 682-1300
                                                    Facsimile: (202) 682-1312
                                                    jholmes@naacpldf.org

                                            Amir Badat*
                                            Victor Genecin*
                                            Breanna Williams*
                                            NAACP Legal Defense and Educational Fund, Inc.
                                            40 Rector Street, 5th Floor
                                            New York, NY 10006
                                                   Telephone: (212) 965-2200
                                                   Facsimile: (212) 226-7592
                                                   abadat@naacpldf.org
                                                   vgenecin@naacpldf.org
                                                   bwilliams@naacpldf.org

                                            Shira Wakschlag*
                                            The Arc of the United States, Inc.
                                            1825 K Street, NW, Suite 1200
                                            Washington, DC 20006
                                                   Telephone: (202) 534-3708
                                                   Facsimile: (202) 534-3731
                                                   Wakschlag@thearc.org

                                            Kenneth E. Broughton
                                            Texas Bar No. 03087250
                                            J. Keely Pippin
                                            Texas Bar No. 24116306
                                            Reed Smith LLP



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                             811 Main Street, Suite 1700
                             Houston, TX 77002-6110
                                   Telephone: (713) 469-3800
                                   Facsimile: (713) 469-3899
                                   kbroughton@reedsmith.com
                                   kpippin@reedsmith.com




                             Sarah Cummings Stewart
                             Texas Bar No. 24094609
                             Reed Smith LLP
                             2850 N. Harwood Street, Suite 1500
                             Dallas, TX 75201
                                     Telephone: (469) 680-4200
                                     Facsimile: (469) 680-4299
                                     sarah.stewart@reedsmith.com

                             J. Michael Showalter*
                             ARENTFOX SCHIFF LLP
                             South Wacker Drive, Suite 7100
                             Chicago, IL 60606
                                    Telephone: (312) 258-5561
                                    j.michael.showalter@afslaw.com

                             *Admitted pro hac vice

                             Counsel for Plaintiffs Houston Area Urban League;
                             Delta Sigma Theta Sorority, Inc.; The Arc of Texas;
                             and Jeffrey Lamar Clemmons




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on September 8, 2023, a true and correct copy of

the foregoing document was filed with the Clerk of Court via the CM/ECF system, causing it to

be served electronically on all counsel of record.

                                                           /s/ Victor Genecin
                                                           Victor Genecin




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